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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK

FEDERAL TRADE COMMISSION and           Case No. 1:17-cv-00124-LLS
THE PEOPLE OF THE STATE OF NEW         PLAINTIFFS’ OPPOSITION TO
YORK, by LETITIA JAMES, Attorney
General of the State of New York,      DEFENDANTS’ MOTION FOR
                                       SUMMARY JUDGMENT
                  Plaintiffs,
                  v.
QUINCY BIOSCIENCE HOLDING
COMPANY, INC., a corporation;
QUINCY BIOSCIENCE, LLC, a limited
liability company;
PREVAGEN, INC., a corporation
d/b/a/ SUGAR RIVER SUPPLEMENTS;
QUINCY BIOSCIENCE
MANUFACTURING, LLC, a limited
liability company; and
MARK UNDERWOOD, individually and as
an officer of QUINCY BIOSCIENCE
HOLDING COMPANY, INC., QUINCY
BIOSCIENCE, LLC, and PREVAGEN,
INC.,
                  Defendants.
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                                PRELIMINARY STATEMENT
       Defendants’ motion for summary judgment is based in most part on their erroneous

contention that requiring a well-designed, randomized, well-controlled, double-blinded human

clinical trial (“RCT”) to substantiate their advertising claims would go beyond the FTC Act and

the FTC’s Dietary Supplements: An Advertising Guide for Industry (“FTC Guidance”). But this

argument is wholly undercut by the fact that FTC Act case law requires competent and reliable

evidence to substantiate Defendants’ claims. The relevant law, as well as FTC Guidance, make

abundantly clear that “competent and reliable scientific evidence” is defined as the type of

evidence an expert in the relevant field would require to support those claims.

       It is undisputed that Defendants made, and continue to make, claims that Prevagen: (1)

improves memory, (2) improves memory within 90 days, (3) reduces memory problems

associated with aging, and (4) provides other cognitive benefits, including healthy brain function,

a sharper mind, and clearer thinking (collectively “Challenged Health Efficacy Claims”).

Plaintiffs will present an expert in the relevant scientific fields – memory, cognition, and clinical

trials – and she will testify that in order to substantiate these claims, one would need a well-

conducted RCT that yields statistically significant and clinically meaningful results. Defendants

do have a flawed RCT, the Madison Memory Study, but that RCT did not demonstrate that

Prevagen improved memory or cognition.

       Defendants’ claims go a step further and tout to consumers that Prevagen is “clinically

shown” to: (1) improve memory, (2) improve memory within 90 days, (3) reduce memory

problems associated with aging, and (4) provide other cognitive benefits, including healthy brain

function, a sharper mind, and clearer thinking (collectively “Challenged Establishment Claims”).

The vast majority of Defendants’ ads referred specifically to the Madison Memory Study. As

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such, the net impression Defendants conveyed to consumers was that their memory and cognitive

function claims were supported by an RCT.

       Defendants seek to flout relevant case law by insisting that the FTC Guidance does not

mean what it says. They cherry pick isolated phrases from the FTC Guidance while ignoring its

overall context and clear directive that, for example, the appropriate level of substantiation is

based on what experts in the relevant field would require, the appropriate type of evidence

needed depends on the advertising claim that is conveyed to consumers, and marketers must

possess the level of support they claim to have in ads. As the case law abundantly demonstrates,

experts in the relevant fields often require an RCT, including for a dietary supplement. Given

this legal precedent, Plaintiffs, by contending that an RCT is required to substantiate the

Challenged Health Efficacy Claims and the Challenged Establishment Claims (collectively

“Challenged Claims”), have not imposed a new, “heightened,” or “unpublished” standard on

Defendants that would violate the Due Process Clause of the Constitution.

       In what can only be described as a last-ditch effort to feign ignorance about the clear

requirement of an RCT for Defendants’ claims, Defendants point to the FDA’s Dietary

Supplement Health and Education Act of 1994 (“DSHEA”), a statute enforced by the FDA that

is entirely irrelevant to the instant action. As this Circuit has noted, FDA has a different

regulatory scheme, and its requirements and regulations are inapplicable to an FTC Act case. In

any case, DSHEA does not prohibit an RCT from being the appropriate substantiation, and

FDA’s guidance, even after DSHEA, is consistent with FTC law and guidance on health claim

substantiation. DSHEA thus offers Defendants no safe harbor.

       Defendants’ assertion that Plaintiffs have applied an unprecedented substantiation

standard is simply their effort to distance themselves from the telling admission they made at the



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November 2021 status conference – that “what we have here are two sides of experts who

disagree with each other about science, about the science at issue in this case.” (Nov. 12, 2021

Hr’g Tr. at 8:10-12.) Plaintiffs’ expert has reached the well-supported conclusion that experts in

the relevant fields would require an RCT, and that the RCT conducted by Defendants does not

support their advertising claims. Defendants’ purported experts disagree. While Defendants’

motion for summary judgment obfuscates the relevant legal standard that applies in this case,

there is no question that, as they conceded at the November 2021 status conference, “the only

thing that’s been proven here is that these scientists disagree with each other.” (Nov. 12, 2021

Hr’g Tr. at 9:22-23.)

       Defendants also offer non-RCT research in support of their claims – studies in

laboratories, dogs, rats, and humans – that does not substantiate their claims regarding Prevagen,

and therefore precludes summary judgment in their favor. These studies purport to explore the

effects of Prevagen’s active ingredient, apoaequorin. Not only are they insufficient to support

the Challenged Claims because they are not RCTs, but these studies, taken as a whole, refute

Defendants’ claims. Defendants conducted an in vitro study that indicates that apoaequorin is

rapidly digested to amino acids in the stomach and can therefore have no therapeutic effect, and

the dog and rat studies show that apoaequorin, when orally administered – as Prevagen is – does

not survive digestion long enough to have an effect on the brain. Defendants plan to offer

purported experts who disagree, but they should be precluded from testifying. And even if the

Court allows them to testify, they would, at best, merely offer a dispute of fact.

       Defendants’ other arguments also fail to support their motion for summary judgment.

Contrary to Defendants’ assertion, Plaintiffs have not failed to offer evidence that the challenged

claims are likely to mislead consumers. Defendants ignore longstanding case law providing that



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false or unsubstantiated claims are deceptive as a matter of law. Plaintiffs thus can demonstrate

that Defendants’ claims are “likely to mislead” by establishing through the testimony of their

expert witnesses that Defendants’ proffered substantiation is inadequate.

        Defendants also inaccurately argue that Plaintiffs are not entitled to injunctive relief

because their current advertising no longer makes the Challenged Claims. Defendants are wrong

on both the law and the facts. Defendants argue that, because all of their current ads purportedly

contain qualifying language required by a settlement agreement in the matter of Collins v.

Quincy Bioscience, LLC (the “Collins Qualifier” or “Qualifier”), Plaintiffs cannot show that any

Defendant “is violating” or “is about to violate” the FTC Act. However, Defendants do continue

to disseminate advertising without the Collins Qualifier. Moreover, advertisements with the

Qualifier also violate the law because the Qualifier: (1) is insufficiently prominent in

Defendants’ ads; and (2) references improper and fatally flawed subgroup analysis from the

Madison Memory Study. Even if Defendants had discontinued their objectionable ads, an

injunction would still be proper as the case law, including the cases relied on by Defendants,

demonstrates. To the extent that Defendants continue to contest the net impression of their

current advertisements, that – at most – presents an issue of material fact that precludes summary

judgment.

       Defendants also incorrectly argue that this Court should not grant injunctive relief to the

extent that Defendants are complying with the Collins settlement, claiming prejudice. This, too,

is wrong. A private class action settlement provides no basis for barring relief in this public

enforcement action—as the very case on which Defendants rely makes clear—because this

action implicates the public’s interest and the remedies sought are broader than those sought in a

private class action. Moreover, Defendants’ claims of prejudice fall flat because Plaintiffs



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consistently have made clear that Defendants’ advertising is deceptive even if it includes the

Collins Qualifier.

       Additionally, Defendants’ theory that Section 13(b) of the FTC Act prohibits the FTC

from seeking a permanent injunction unless it first seeks a temporary restraining order or a

preliminary injunction has no legal support. Instead, every court to consider this issue has

rejected Defendants’ interpretation of Section 13(b) as requiring the FTC to seek preliminary

relief before it can seek permanent relief.

       Finally, Defendants are simply incorrect that the NYAG’s claims are preempted and that

the NYAG is not entitled to restitution. Defendants’ own authority makes both points

abundantly clear. DSHEA does not apply to Defendants’ advertising claims and the NYAG can

seek restitution for anyone injured since the end of the class period, July 21, 2020.

                     LEGAL STANDARD FOR SUMMARY JUDGMENT
       “The Court shall grant summary judgment if the movant shows,” based upon the

admissible evidence, “that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Chanel, Inc. v. WGACA, LLC,

No. 18-cv-2253 (LLS), 2022 U.S. Dist. LEXIS 55880, at *11 (S.D.N.Y. Mar. 28, 2022) (citing

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)) (quotation marks omitted). A fact is

material if, based on the substantive law, it “might affect the outcome of the suit under the

governing law,” and it is genuinely in dispute “if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Chanel, Inc., 2022 U.S. Dist. LEXIS 55880, at

*11 (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) and Baez v. JetBlue

Airways Corp., 793 F.3d 269, 274 (2d Cir. 2015)).

       Defendants as the moving party bear the initial burden of demonstrating the absence of a

genuine issue of material fact, a burden which they have not met. Chanel, Inc., 2022 U.S. Dist.

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LEXIS 55880, at *11. District courts are “not ‘to weigh the evidence and determine the truth of

the matter but to determine whether there is a genuine issue for trial.’” Id. at *11-12 (citing

Cioffi v. Averill Park Cent. Sch. Dist. Bd. of Ed., 444 F. 3d 158, 162 (2d Cir. 2006)). The district

court “must construe all the evidence in the light most favorable to the nonmoving party . . . and

draw all inferences and resolve all ambiguities in that party’s favor” and against the motion. Id.

at *12 (citing Cartier, Inc. v. Sardell Jewelry, Inc., 294 F. App’x 615, 617 (2d Cir. 2008)).

         In this case, given the number of outstanding genuine issues of material facts in dispute,

summary judgment is wholly inappropriate.

                                           ARGUMENT

    I.        PLAINTIFFS HAVE APPLIED THE SUBSTANTIATION STANDARDS
              CONSISTENT WITH FTC LAW AND THE FTC GUIDANCE

         Defendants contend that an RCT cannot be required to substantiate claims for a dietary

supplement because such a requirement would go beyond the FTC Act and the FTC Guidance.

(Defs.’ Br. at 1-2, 19.) However, Defendants overlook the fact that they advertised to consumers

that Prevagen’s benefits were supported by an RCT, mischaracterize the FTC’s competent and

reliable scientific evidence standard, disregard the opinion of Plaintiffs’ expert that Defendants’

claims must be supported by an RCT, and fail to acknowledge the many cases finding that an

RCT was the appropriate type of substantiation even for a dietary supplement.

         A.     Because Defendants Advertised That Their Claims Were Supported by an
                RCT, an RCT is Required as Substantiation

         Defendants’ argument that any requirement of an RCT contradicts the FTC Act1 and the

FTC Guidance amounts to nothing more than an attempt to obscure an undisputed fact –



1
        Case law under the FTC Act is given great weight in construing the New York consumer
protection statutes at issue in this case. See In re People v. Applied Card Sys., Inc., 27 A.D.3d


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Defendants advertised for years (and still do) that their claims were supported by evidence from

an RCT. (See, e.g., Compl. Exs. A, C; Defs.’ SOF ¶¶ 28, 31, 52.) In advertising, Defendants

expressly connected the purported results of the Madison Memory Study, an RCT, to the

Challenged Claims. For example, in addition to telling consumers that Prevagen was “clinically

shown to improve memory,” Defendants advertised that:

       Prevagen Improves Memory*

       Prevagen has been clinically shown to help with mild memory loss associated with
       aging.*

       …

       Unique Ingredient in Prevagen
       Prevagen contains apoaequorin, which was originally discovered in jellyfish.
       Apoaequorin is patented by Quincy Bioscience for use in a variety of products to support
       cognitive function.* In a computer-assessed, double-blinded, placebo-controlled clinical
       study, Prevagen improved certain aspects of cognitive function over a 90 day period.*

(Ducklow Decl. Attachment 1, Prevagen.com at FTC-0000139.0003-04.) Further, as admitted

by Defendants, product packaging stated that “Prevagen Improves Memory,” “Prevagen is

clinically shown to help with mild memory loss associated with aging[,]” and that “[i]n a

computer-assessed double-blinded, placebo-controlled clinical study, Prevagen improved certain

aspects of cognitive function over a 90 day period.” (Olson Decl. ¶¶ 28-30, Ex. E at QUI-

FTCNY-00013352); see also Ducklow Decl. Attachment 10 (stating in a TV ad that “[i]n a

computer assessed, double-blinded, placebo controlled study, Prevagen improved recall tasks in

subjects” and showing a bar chart of the purported improvement over 90 days).) The net


104, 105 (3d Dep’t 2005), aff’d on other grounds, 11 N.Y.3d 105 (2008) (explicitly “recognizing
that the interpretations of the Federal Trade Commission Act (see 15 U.S.C. § 45 et seq.) are
useful in determining the aforementioned violations under both the Executive Law and General
Business Law”); State v. Feldman, 210 F. Supp. 2d 294, 302 (S.D.N.Y. 2002); Oswego
Laborers’ Local 214 Pension Fund v. Marine Midland Bank, 85 N.Y.2d 20, 26 (1995); State v.
Colorado State Christian Coll. of Church of Inner Power, Inc., 76 Misc. 2d 50, 54 (1973).

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impression of these advertisements clearly communicated to consumers that Prevagen’s benefits

for cognitive function were supported by clinical evidence, specifically an RCT.2

        Claims that identify a specific type of substantiation, like those alleged in Count II of the

Complaint, are “establishment claims,” and Defendants must have had the type of evidence

claimed. (Compl. ¶ 39; FTC v. Roca Labs, Inc., 345 F. Supp. 3d 1375, 1381, 1388 (M.D. Fl.

2018) (noting that an establishment claim is required to have the level of proof claimed in the

ad); FTC v. Coorga Nutraceuticals, 201 F. Supp. 3d 1300, 1309 (D. Wyo. 2016) (“If an

establishment claim ‘states a specific type of substantiation,’ the ‘advertiser must possess the

specific substantiation claimed.’” (quoting Removatron Corp. v. FTC, 884 F.2d 1489, 1492 n.3

(1st Cir. 1989)); FTC v. Wellness Support Network, No. 10-cv-04879-JCS, 2014 WL 644749, at

*16 (N.D. Cal. Feb. 19, 2014) (finding that “for establishment claims advertisers must have the

level of substantiation referenced in the claim itself” and applying this standard to advertising

claims that referenced clinical and scientific studies); FTC v. Direct Mktg. Concepts, Inc., 569 F.

Supp. 2d 285, 298-99 (D. Mass. 2008). The FTC Guidance reinforces this standard for an

establishment claim, stating that “[i]f an advertiser asserts that it has a certain level of support for

an advertised claim, it must be able to demonstrate that the assertion is accurate. Therefore, as a

starting point, advertisers must have the level of support that they claim, expressly or by

implication, to have.” (Graham Decl. Ex. F, FTC Guidance at QUI-FTCNY-00189212.)

        Under FTC law, for the establishment claims alleged in the Complaint, Defendants are

required to have the level of evidence touted repeatedly in their own ads – evidence from an

RCT – to support the challenged claims. See Wellness Support Network, 2014 WL 644749, at



2
        If Defendants were to contend that they did not make any establishment claims in their
ads, these would be material facts in dispute and summary judgment would be inappropriate.

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*16 (finding unsupported establishment claims to be false). Defendants’ position that they could

advertise that an RCT is evidence of Prevagen’s efficacy without being required to have an

adequate RCT contradicts FTC law and common sense.

       B.      For the Challenged Health Efficacy Claims, Plaintiffs Have Applied the
               Competent and Reliable Scientific Evidence Standard Consistent with FTC
               Law

        Defendants’ ads tout the efficacy of Prevagen by claiming that it improves memory and

provides other cognitive benefits. As compared to an establishment claim, “[a]n efficacy claim

suggests that a product successfully performs the advertised function or yields the advertised

benefit, but includes no suggestion of scientific proof of the product’s effectiveness.” POM

Wonderful v. FTC, 777 F.3d 478, 490 (D.C. Cir. 2015). “If an ad conveys an efficacy claim, the

advertiser must possess a reasonable basis for the claim.” Id. (quotation marks omitted). If an

advertiser lacks a reasonable basis to substantiate a claim at the time of dissemination, the

advertisement would be deceptive under the FTC Act.3 COORGA Nutraceuticals, 201 F. Supp.

3d at 1309. What constitutes a reasonable basis can depend on multiple factors, including the

type of claim and product, consequences of a false claim, benefits of a truthful claim, ease of

developing substantiation for the claim, and the amount of substantiation experts in the field

would consider reasonable. POM Wonderful, 777 F.3d at 490-91. For a health efficacy claim,

courts have interpreted the reasonable basis requirement to mean competent and reliable

scientific evidence. NPB Adver., Inc., 218 F. Supp. 3d at 1358; FTC v. Nat’l Urological Grp.,

645 F. Supp. 2d 1167, 1202 (N.D. Ga. 2008); FTC v. QT, Inc., 448 F. Supp. 2d 908, 961 (N.D.

Ill. 2008). “[T]he ‘competent and reliable scientific evidence’ standard is one which has been


3
       In addition to the showing that there was no reasonable basis, Plaintiffs would have to
show that Defendants made the challenged representations, expressly or impliedly, and that the
claims were material. FTC v. NPB Adver., Inc., 218 F. Supp. 3d 1352, 1358 (M.D. Fla. 2016).

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developed over many years by agency enforcement precedent and guidance from the FTC.”

Direct Mktg. Concepts, Inc. v. FTC, 581 F. Supp. 2d 115, 118 (D. Mass. 2008).

       To determine what constitutes competent and reliable scientific evidence, courts regularly

look to experts in the relevant field. See, e.g., Daniel Chapter One v. FTC, 405 F. App’x 505,

506 (D.C. Cir. 2010); COORGA Nutraceuticals, 201 F. Supp. 3d at 1309; FTC v. Alcoholism

Cure Corp., No. 3:10-cv-266-J-34JTB, 2011 WL 13137951, at *27 (M.D. Fla. Sept. 16, 2011)

(“The Court can look to what experts in the relevant area of study would consider to be adequate

in determining the amount and type of evidence that is sufficient for scientific validation of the

advertisement’s claims.” (quotation marks omitted)); Nat’l Urological Grp., 645 F. Supp. 2d at

1186. This standard is flexible because it “is context specific and permits different variations . . .

depending on what pertinent professionals would require for the particular claim made.” Nat’l

Urological Grp., 645 F. Supp. 2d at 1186. This approach also is set forth in the FTC Guidance,

which provides that a “guiding principle for determining the amount and type of evidence that

will be sufficient is what experts in the relevant area of study would generally consider to be

adequate.” (Graham Decl. Ex. F, FTC Guidance at QUI-FTCNY-00189213.) In this case,

Plaintiffs’ expert, Mary Sano, Ph.D., relied on her experience in the fields of memory, cognitive

impairment, neurosciences of aging and dementia, and clinical trials, and applied the scientific

standards that are widely used by experts in these fields. (Plaintiffs’ Statement of Additional

Material Facts in Dispute (“Pls.’ SOF”) ¶ 4.) Dr. Sano determined that evidence from an RCT is

required to establish the efficacy of Prevagen for memory and other cognitive benefits in

humans. (Id. ¶ 1.)

       Although Defendants concede that the competent and reliable scientific evidence

standard is based on what experts in the relevant fields would require, they contend that an RCT



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cannot be required, despite the opinion from Dr. Sano, and rely on three civil contempt cases –

Basic Rsch. v. FTC, No. 2:09-cv-0779, 2014 WL 12596497 (D. Utah Nov. 25, 2014), FTC v.

Garden of Life, 516 F. App’x 852 (11th Cir. 2013), and United States v. Bayer Corp., No. 07-01,

2015 WL 5822595 (D.N.J. Sept. 24, 2015). (Defs.’ Br. at 1-3, 21-23.) However, those cases are

inapposite because the courts were deciding whether the FTC had established by clear and

convincing evidence that defendants violated a specific provision of a prior court order that did

not expressly mention RCTs. Garden of Life, 516 F. App’x at 854; Bayer, 2015 WL 5822595, at

*1; Basic Rsch., 2014 WL 12596497, at *1. Here, the Court is not being asked to interpret a

prior order. Rather, the determination of what constitutes competent and reliable scientific

evidence for the claims at issue, and whether Defendants possessed such evidence, are disputed

questions of fact. In Roca Labs, Inc., the court reinforced this distinction, noting that Bayer was

“inapposite both procedurally and factually” because the FTC was “not challenging a consent

decree such that it carries a legal burden to establish a violation by clear and convincing

evidence” and “[was] not precluded from requiring RCTs or challenging claims for lack of an

RCT.” 345 F. Supp. 3d at 1387.

       Furthermore, Defendants’ position is undercut by the fact that courts have regularly

applied the competent and reliable scientific evidence standard and concluded that an RCT was

required to substantiate claims based on expert evidence, including for dietary supplements. See,

e.g., POM Wonderful, 777 F.3d at 505; Daniel Chapter One, 405 F. App’x at 506 (noting that

there was nothing “unreasonable about the specific type of basis required by the Commission,

namely, ‘competent and reliable scientific evidence’ including clinical trials with human

subjects”); Roca Labs, Inc., 345 F. Supp. 3d at 1381, 1387-89; NPB Adver., Inc., 218 F. Supp. 3d

at 1359; COORGA Nutraceuticals, 201 F. Supp. 3d at 1309 (finding that an RCT is the requisite



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level of substantiation); Alcoholism Cure Corp., 2011 WL 13137951, at *39 (noting that many

courts have “embrac[ed] the placebo-controlled, double-blind clinical study as the most basic

and fundamental requirement for scientific validity and reliability to support health-related

claims (including dietary supplements)”); Nat’l Urological Grp., Inc., 645 F. Supp. 2d at 1202;

Direct Mktg. Concepts, Inc., 569 F. Supp. 2d at 303-04 (stating that it is “well-accepted that

double-blind, placebo-controlled studies are necessary to substantiate health-related efficacy

claims”); FTC v. Braswell, No. CV 03-3700, 2005 WL 4227194, at *10 (C.D. Cal. Sept. 27,

2005) (listing cases where “courts . . . have found or upheld that double-blind, placebo controlled

studies are required to provide adequate substantiation for various efficacy claims, including

claims for dietary supplements”). The Court should reject Defendants’ argument that an RCT is

inconsistent with the competent and reliable scientific evidence standard.

       C.      For the Challenged Health Efficacy Claims, Plaintiffs Have Applied the
               Competent and Reliable Scientific Evidence Standard Consistent with the
               FTC Guidance

       Defendants also contend that requiring an RCT would be inconsistent with the FTC

Guidance, pointing to statements that there is “no set protocol for how to conduct research” or

“no fixed formula for the number or type of studies or for specific parameters like sample size

and study duration.” (Defs.’ Br. at 19, 27.) As pointed out above, however, Plaintiffs’ position

regarding the need for an RCT to substantiate the Challenged Establishment and Health Efficacy

Claims is completely consistent with the FTC Guidance. (Graham Decl. Ex. F, FTC Guidance at

QUI-FTCNY-00189212-13.) Defendants’ argument is meritless because it relies on an

incomplete reading of the FTC Guidance that singles out a few sentences while ignoring the

surrounding context.

       The FTC Guidance “illustrat[es] how principles of ad interpretation and substantiation

apply in the context of dietary supplement advertising,” but does not specifically cover every
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imaginable situation for a large industry selling innumerable products with different claims. (Id.

at QUI-FTCNY-00189206.) The absence of a set protocol or a fixed formula does not mean the

FTC Guidance has no principles on how evidence should be evaluated. For example, after the

FTC Guidance says there is no set protocol, the very next sentence states that there are “some

principles generally accepted in the scientific community to enhance the validity of test

results[,]” including that “a study that is carefully controlled, with blinding of subjects and

researchers, is likely to yield more reliable results, “[s]tatistical significance of findings is also

important, and “[t]he results should also translate into a meaningful benefit for consumers.” (Id.

at QUI-FTCNY-00189215.) Likewise, directly after stating that there is no fixed formula, the

FTC Guidance notes that “[t]here are, however, a number of considerations to guide an

advertiser in assessing the adequacy of the scientific support for a specific advertising claim,”

including whether the ad cites a specific level of support, the amount, type, quality, and

relevance of the evidence, and how to consider the totality of the evidence. (Id. at QUI-FTCNY-

00189212-21.)

        Additionally, the FTC Guidance neither expressly prohibits an RCT from being the

appropriate level of evidence for a specific claim nor requires that the various types of evidence

be weighed equally. (Id. at QUI-FTCNY-00189213, QUI-FTCNY- 00189215.) Statements in

the FTC Guidance referring to a “totality of the evidence,” and that “studies cannot be evaluated

in isolation,” have been taken out of context and do not mean that an RCT is not the appropriate

type of evidence. (Defs.’ Br. at 2, 19.) To the contrary, the FTC Guidance explicitly clarifies in

the next sentence that:

                [t]he surrounding context of the scientific evidence is just as
                important as the internal validity of individual studies. Advertisers
                should consider all relevant research relating to the claimed benefit
                of their supplement and should not focus only on research that

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               supports the effect, while discounting research that does not.

(Graham Decl. Ex. F, FTC Guidance at QUI-FTCNY-00189217.) “The surrounding body of

evidence will have a significant impact both on what type, amount and quality of evidence is

required to substantiate a claim and on how that claim is presented – that is, how carefully the

claim is qualified to reflect accurately the strength of the evidence.” (Id. (emphasis added).)

Elsewhere, the FTC Guidance notes that “[a]s a general rule, well-controlled human clinical

studies are the most reliable form of evidence” and that advertisers should “look first to the

results of the studies with more reliable methodologies.” (Id. at QUI-FTCNY-00189213, QUI-

FTCNY-00189217.) To illustrate a scenario in which RCTs were considered essential, the FTC

Guidance includes a hypothetical example about a dietary supplement for which the evidence

was determined to be likely inadequate because the non-RCT evidence was methodologically

flawed and “human research [was] both feasible and the accepted approach in the field.” (Id. at

QUI-FTCNY-00189213-14 (emphasis added).)

       Furthermore, courts have found the FTC Guidance to be consistent with FTC case law

requiring an RCT. In Daniel Chapter One, the court found that the FTC Guidance “gave notice

that a reasonable basis for a claim concerning a dietary supplement consists of scientific

evidence, including clinical trials.” 405 F. App’x at 506 (stating that the FTC “generally relies

upon experts for evidence of the ‘accepted norms in the relevant field,’ and the expert testimony.

. . in the present case supports the type of substantiation it required of [the advertiser]” (quoting

the FTC Guidance)). Additionally, Daniel Chapter One found nothing “unreasonable about the

specific type of basis required by the Commission, namely, ‘competent and reliable scientific

evidence’ including clinical trials with human subjects.” Id. Likewise, COORGA Nutraceuticals

noted that the FTC Guidance was consistent with FTC law, stating that “[w]hile it is true, as



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Defendants point out, that the FTC’s advertising guide suggests there may be other scientific

evidence that could be sufficient and that a double-blind study is not necessarily required in all

instances, the FTC has established that a human clinical trial is required for the claims made by

Defendants that its dietary supplements reverse or prevent the graying of human hair.” 201 F.

Supp. 3d at 1310 (emphasis in original). The COORGA Nutraceuticals court noted that the

Guidance indicated the need to have competent and reliable scientific evidence and that “‘[a]

guiding principle for determining the amount and type of evidence that will be sufficient is what

experts in the relevant area of study would generally consider to be adequate.’” Id. at 1309

(quoting the FTC Guidance) (emphasis added); see also Defs.’ Br. at 19 (conceding that the

competent and reliable scientific standard is based on the expertise of professionals in the

relevant area).

       Defendants take issue with the fact that Plaintiffs’ experts did not consider the FTC

Guidance, but this misconstrues the role of Plaintiffs’ experts and the purpose of the FTC

Guidance. The FTC Guidance is intended to assist marketers of dietary supplements, not

scientific experts, in understanding how FTC law applies to advertising claims. (Graham Decl.

Ex. F, FTC Guidance at QUI-FTCNY-00189204-05.) Comparatively, scientific experts are

relying on principles or procedures generally used in their field. Plaintiffs’ experts are opining,

for example, on “the amount and type of evidence that will be sufficient” to support the claims or

on whether the purported substantiation has “been conducted and evaluated in an objective

manner by persons qualified to do so, using procedures generally accepted in the profession to

yield accurate and reliable results.” (Id. at QUI-FTCNY-00189206, QUI-FTCNY-00189212-

13.)




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       D.      Plaintiffs’ Contention that Defendants’ Claims Must be Substantiated By an
               RCT Does Not Violate Defendants’ Due Process Rights

       Defendants argue that Plaintiffs, by contending that an RCT is required to substantiate the

challenged claims, have imposed a “heightened” and “unpublished” standard on Defendants in

violation of the Due Process Clause of the Constitution. As set forth above, however, Plaintiffs

followed well-established case law and FTC Guidance in determining the proper level of

substantiation for both the challenged establishment and efficacy claims. See supra Section I.A-

B. Furthermore, in Daniel Chapter One, the court rejected Defendants’ specific argument that

requiring an RCT constitutes a heightened substantiation standard, noting that such a level of

substantiation is consistent with the FTC Guidance. 405 F. App’x at 506.

       In making their Due Process argument, Defendants incorrectly assert that Plaintiffs’

experts considered only the Madison Memory Study in determining whether Defendants’ claims

were adequately supported. (Defs.’ Br. at 31.) In fact, Plaintiffs’ expert, Dr. Sano, reviewed the

other purported substantiation, including human and animal studies, and found that none of those

additional materials supported the claims at issue. (Pls.’ SOF ¶¶ 47-49, 51-56.) Defendants’

Due Process argument therefore is without basis in law or fact.

       Defendants’ assertion that Plaintiffs have applied a higher standard, beyond the FTC Act

or the FTC Guidance, is simply an effort to avoid what Defendants previously told the Court –

that “what we have here are two sides of experts who disagree with each other about science,

about the science at issue in this case.” (Nov. 12, 2021 Hr’g Tr. at 8:10-12.) Indeed, both parties

intend to offer competing evidence from experts on what constitutes competent and reliable

scientific evidence and whether Defendants’ establishment and efficacy claims are adequately

supported. (See infra Sections II-IV; Pls.’ SOF ¶¶ 1-56.) Therefore, these disputed material

facts must be resolved at trial, not at summary judgment. Nat’l Urological Grp., 645 F. Supp.


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2d. at 1190 (stating that “what constitutes competent and reliable scientific evidence . . . is a

question of fact for expert interpretation”); Griffin v. Sheeran, 351 F. Supp. 3d 492, 497

(S.D.N.Y. 2019) (denying summary judgment because experts disagree on a factual issue);

R.F.M.A.S. v. So, 619 F. Supp. 2d 39, 81 n.21 (S.D.N.Y. 2009) (competing expert opinions on a

question of fact, either of which the jury could credit, precludes summary judgment).

       E.        DSHEA Is Inapplicable to a Case Brought Under the FTC Act

       Defendants mistakenly equate the requirement of an RCT to support the claims under

FTC law with FDA’s regulatory scheme for drugs based on DSHEA. (Defs.’ Br. at 17.) First,

DSHEA, which is enforced by the FDA, is inapplicable because this case was brought pursuant

to the FTC Act and parallel New York law. Courts have found that FDA administers a different

regulatory scheme that is inapplicable to the FTC Act. See Bristol-Myers Co. v. FTC, 738 F.2d

554, 559 (2d Cir. 1984); see also Thompson Medical Co. v. FTC, 791 F.2d 189, 193 (D.C. Cir.

1986) (stating that Bristol-Myers made it quite clear that FDA requirements and regulations were

a different regulatory scheme and did not govern an FTC case); FTC v. Lunada Biomedical, No.

CV-15-3380-MWF, 2015 WL 12911515, *4-5 (C.D. Cal. Sept. 23, 2015) (noting that FDA

requirements and regulations did not apply even when the product at issue was a dietary

supplement); Wellness Support Network, 2014 WL 644749, at *10 (rejecting as irrelevant the

argument that the standard that applies to claims under the FTC Act must take into account FDA

regulations).4




4
       Similarly, FDA guidance cited by Defendants, such as the Small Entity Compliance
Guide on Structure/Function Claims, would also be inapplicable to this case.

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       Furthermore, DSHEA does not prohibit an RCT from being the appropriate substantiation

in this case.5 Defendants concede that “DSHEA does not elaborate on what is required for a

claim to be considered ‘truthful and not misleading.’” (Defs.’ Br. 18.) Likewise, the FTC

Guidance notes that DSHEA “does not directly apply to advertising.” (Graham Decl. Ex. F, FTC

Guidance at QUI-FTCNY-00189204, 00189226 (stating also that a disclaimer authorized under

DSHEA may not cure an otherwise deceptive ad).) Contrary to Defendants’ assertions that

DSHEA mandates a lower substantiation standard for dietary supplements, FDA noted that it

“intend[ed] to apply a standard for the substantiation of dietary supplement claims that is

consistent with the FTC approach,” and therefore a claim is required to have adequate

substantiation and not be misleading. (Ducklow Decl. Attachment 9, Guidance for Industry:

Substantiation for Dietary Supplement Claims Made Under Section 403(r) (6) of the Federal

Food, Drug, and Cosmetic Act at 5 (noting that “DSHEA did not define ‘substantiation’”).)

FDA further states that, like the FTC Guidance and FTC case law, the type of evidence sufficient

to substantiate a claim depends on “what experts in the relevant area of study would consider to

be competent and reliable. Competent and reliable scientific evidence adequate to substantiate a

claim would consist of information derived primarily from human studies.” (Id. at 12.) For

example, intervention studies, specifically “[r]andomized, double blind, parallel group, placebo-

controlled trials offer the greatest assessment of a relationship between a dietary supplement and

an outcome.” (Id. at 12-13.) Comparatively, in vitro and animal studies are not sufficient to

substantiate a claim while observational studies “have a more limited ability than intervention



5
       Even if it were relevant to an FTC Act case, DSHEA applies only to labeling, not other
types of advertising like radio or television. (Ducklow Decl. Attachment 9, Guidance for
Industry: Substantiation for Dietary Supplement Claims Made Under Section 403(r) (6) of the
Federal Food, Drug, and Cosmetic Act at 3-4.)

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studies to distinguish relationships between a substance and the outcomes being evaluated and

cannot provide causal evidence.” (Id. at 12, 14, 16 (providing an example that a claim supported

by in vitro tests would not have adequate substantiation because “[c]orroborating evidence from

some human studies would likely be needed to determine if the in vitro findings reflect the

outcomes of the product when consumed by humans”).)

            Defendants’ attempt to impose DSHEA into this case is without merit because it is both

inapplicable to a case under the FTC Act and does not prohibit an RCT from being the

appropriate substantiation for the Challenged Claims. The Court should instead apply the law

under which Plaintiffs’ claims were alleged – the FTC Act and parallel New York law.

      II.      GENUINE ISSUES OF MATERIAL FACT EXIST AS TO WHETHER AN
               RCT IS NEEDED TO SUBSTANTIATE THE CHALLENGED CLAIMS

            The parties’ experts disagree on the standard of evidence Defendants are required to have

to substantiate the Challenged Claims, and, therefore, summary judgment in favor of Defendants

is unwarranted. (Pls.’ SOF ¶¶ 1-15.) Plaintiffs’ expert opines that experts in her respective

fields of memory, cognition, neurosciences of aging and dementia, and clinical trials would

require competent and reliable scientific evidence in the form of a well-designed, randomized,

well-controlled, double-blinded clinical trial (“RCT”) to support the Challenged Claims. (Id. ¶

1.)

                                                (Id. ¶ 2.) “[W]hat constitutes competent and reliable

scientific evidence in this case is a question of fact for expert interpretation.” Nat’l Urological

Grp., 645 F. Supp. 2d at 1190. This, and the other numerous disagreements between the parties’

experts, illustrate the inappropriateness of summary judgment.

            Plaintiffs’ expert, Dr. Sano, an expert in the fields of (1) memory; (2) cognition; (3)

neurosciences of aging and dementia; and (4) the design, implementation, and interpretation of


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clinical trials, examined Defendants’ proffered substantiation. (Pls.’ SOF ¶¶ 4-5.) Dr. Sano has

opined that establishing the efficacy of an orally-administered product like Prevagen for memory

and other cognitive benefits requires competent and reliable scientific evidence in the form of at

least one RCT on the actual product, or a substantially similar product, for which the advertising

claims are made. (Pls.’ SOF ¶ 1.)

       In rendering her opinion as to the required form of evidence to substantiate the

Challenged Claims, Dr. Sano drew upon her education and experience and applied the scientific

standards that are widely used by experts in her fields. (Pls.’ SOF ¶ 4.) Her review of

Defendants’ research was based on a standard of evidence that conforms to research methods

accepted in those scientific communities as capable of supporting valid conclusions as to

causation. (Id. ¶ 5.)

       Although Defendants continue to advertise that Prevagen improves memory and

cognition and tout that they have an RCT,

                                                                  (Id. ¶ 2-3.)




                        .6 (Id. ¶ 2.)

       In addition to creating a new, lower evidentiary standard, without defining such a

standard, Defendants fault Dr. Sano for not reviewing or considering the FTC Guidance, FDA


6
         Although Prevagen could be described as a dietary supplement in everyday parlance and,
for this reason, Plaintiffs described Prevagen as such in their Complaint, whether FDA would
classify Prevagen as a “dietary supplement” or a “drug” is irrelevant to the instant action. See
Bristol-Myers Co., 738 F.2d at 559. The issue under the FTC Act is whether the claims
Defendants made to consumers are supported by competent and reliable scientific evidence.
That question can and should be answered under FTC law, which provides for consideration of
the opinion of experts in the relevant field, without reference to FDA regulations.

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regulations, or any other law or regulation in forming her opinion as to what constitutes

competent and reliable scientific evidence. This criticism is misplaced. Plaintiffs did not retain

Dr. Sano to provide legal opinions, which would be inappropriate, and it was unnecessary for her

to review or consider the FTC Guidance, FDA regulations, or any other law or statute.7

(Soberats Decl. Ex. A, Sano Aff. Report ¶ 13.)

           In sum, the parties’ experts disagree as to the requisite level of evidence required for the

Challenged Claims. Clearly the question of whether the Defendants were required to have an

RCT to substantiate their marketing claims is a disputed issue of material fact that is unripe for

summary judgment.

    III.      GENUINE ISSUES OF MATERIAL FACT EXIST AS TO WHETHER
              DEFENDANTS’ RCT CONSTITUTES COMPETENT AND RELIABLE
              SCIENTIFIC EVIDENCE FOR THE CHALLENGED CLAIMS

           The parties have submitted reports by experts who dispute virtually every aspect of the

Madison Memory Study, Defendants’ primary human clinical study, including the study’s

design, implementation, and analysis. (Pls.’ SOF ¶¶ 16-46.) These disputed material facts go

directly to the determination of whether Defendants possessed competent and reliable scientific

evidence or had the clinical evidence they touted in their ads. See Nat’l Urological Grp., 645 F.

Supp. 2d. at 1190 (stating that “what constitutes competent and reliable scientific evidence . . . is

a question of fact for expert interpretation”). Where experts disagree on a question of fact for the

fact finder, summary judgment is inappropriate. See Griffin, 351 F. Supp. 3d at 497 (denying

summary judgment because experts disagree on a factual issue); see also R.F.M.A.S., 619 F.




7
        The opinions expressed by Defendants’ experts constitute inappropriate legal conclusions
that are not based on a reliable scientific methodology as required under Rule 702 and Daubert
and should be excluded. Daubert v. Merrell Dow Pharms., 509 U.S. 579 (1993).

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Supp. 2d at 81 n.21 (competing expert opinions on a question of fact, either of which the jury

could credit, precludes summary judgment).

       A.      Genuine Issues of Material Fact as to the Madison Memory Study’s Design
               and Implementation

       The parties agree that Defendant Quincy Bioscience, LLC sponsored the Madison

Memory Study and conducted the study from 2009 to April 2011. The study was a randomized

clinical trial that involved more than 200 adults between the ages of 40 and 95 who took either

10 mg of orally-administered apoaequorin (Prevagen) or a placebo control. (Pls.’ SOF ¶ 16; Pls.’

Resp. Defs. SOF ¶ 97.) There is little else that the parties agree on regarding the study’s design

and implementation.

       Notably, the parties’ experts offer conflicting opinions on various aspects of the Madison

Memory Study’s design, including: (1) how many participants were enrolled; (2) whether

Defendants administered the screening tool, the AD8 Dementia Screening Interview (“AD8”), in

a reliable manner; and (3)

              . (Pls.’ SOF ¶¶ 17-24.) The parties’ experts cannot even agree on whether the

Madison Memory Study was double-blinded. (Id. ¶¶ 25-26.) The experts’ disagreements over

these aspects of the study’s design relate to the question of whether the Madison Memory Study

was well-designed, “using procedures generally accepted in the profession to yield accurate and

reliable results.” (Graham Decl. Ex. F, FTC Guidance at QUI-FTCNY-00189212.)

       More importantly, the parties’ experts reach different conclusions about the Madison

Memory Study’s intended study population. Plaintiffs’ experts concluded that the intended study

population consisted of the over 200 adults who completed the study (all adults scoring between

a zero to eight on the AD8 screener). (Pls. SOF ¶ 27.) Defendants’ experts counter that the

intended study population only consisted of two overlapping subgroups of 100 participants who

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had little to no cognitive impairment (adults scoring between a 0-1 on the AD8, and adults

scoring between a 0-2 on the AD8).8 (Id. ¶ 28.) However, nothing in the study’s protocol or the

study’s recruitment materials states, or even suggests, that Defendants intended to just analyze

the two overlapping subgroups instead of the entire study population. (Id. ¶¶ 27, 30, 31.) There

isn’t even a passing reference to the AD8 in any of these materials. (Id.)

       The experts’ conflicting opinions on the intended study population are critical because

they go the very heart of how to interpret the Madison Memory Study’s results, a question not

resolvable by summary judgment. Drs. Sano and Janet Wittes, Ph.D. – Plaintiffs’ expert in

biostatistics, the design and analysis of RCTs, and interpretation of data from RCTs – concur that

while an RCT’s protocol may list subgroups of participants with the goal of testing the efficacy

of the treatment in those subgroups, to make any formal inferences about specific subgroups, one

must prespecify those subgroups in the RCT’s protocol before the study begins. (Id. ¶ 10.)

Conclusions about a product’s efficacy should not be based on an analysis of subgroups that was

not specified in the protocol before the study started. (Id.) These subgroup findings, often

referred to as post hoc subgroup findings, should be confirmed in follow-up research on the

target population before they can be relied on as valid evidence of a real effect. (Id. ¶ 11.)

       It is here that the parties’ experts offer conflicting opinions about the implementation of

the Madison Memory Study.




                                               . (Id. ¶¶ 29-34.)




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       All participants who are in the AD8 0-1 subgroup are also in the AD8 0-2 subgroup.

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          . (Id. ¶¶ 32-34.) Because Plaintiffs’ experts maintain that the AD8 0-1 and 0-2

subgroups were not prespecified in the study’s protocol or elsewhere before the study started,

any analyses of subgroups of the study population would be considered post hoc statistical

analyses that cannot support conclusions about a product’s efficacy. (Id. ¶¶ 10-11, 27, 30-31.)




     , and seek to reinvent history by claiming that Defendants decided to focus on the AD8 0-1

and AD8 0-2 subgroups before the Madison Memory Study commenced. (Id. ¶¶ 28-29, 32-34;

Defs.’ SOF ¶¶ 100-103, 107, 113.) In support, they argue that Defendants’ target market has

always been “healthy, non-demented individuals,” which makes results for the AD8 0-1 and 0-2

subgroups the most relevant findings. (Defs.’ SOF ¶ 113.)

        On the conflicting factual record, it cannot be determined as a matter of law what the

Madison Memory Study’s intended population was and whether Defendants analyzed the various

subgroups before or after the Madison Memory Study was completed. To the extent that the

views of Plaintiffs’ experts prevail, then any analyses of subgroups of the study population

would be considered post hoc statistical analyses that according to Plaintiffs’ experts cannot

support conclusions about Prevagen’s efficacy. (Pls.’ SOF ¶¶ 10, 11.) Such post hoc findings

should be confirmed in follow-up research of the target population before they can be relied on

as valid evidence of a real effect. (Id. ¶ 11.) “[C]redibility of experts is a matter best left in the

hands of the trier of fact and is inappropriate for resolution on summary judgment.” Chanel,

Inc., 2022 U.S. Dist. LEXIS 55880, at *21. It is only when the witnesses are present and subject

to cross-examination that their credibility and the weight to be given their testimony can be

appraised.” Id. at 33-34 (citing Poller v. Columbia Broad. Sys., Inc., 368 U.S. 464, 473 (1962)).



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       B.      Genuine Issues of Material Fact as to the Madison Memory Study’s Results

       Ultimately, whether the Madison Memory Study constitutes competent and reliable

scientific evidence turns on whether the results were statistically significant and clinically

meaningful. (Pls.’ SOF ¶¶ 13-15.) According to Plaintiffs’ experts, the main finding of the

Madison Memory Study is that there were no statistically significant results between the

treatment and control groups on any of the outcome measures for the entire study population,

which consisted of over 200 adults, based on a Type I error rate of p less than or equal to 0.05.

(Id. ¶ 35.) Plaintiffs’ experts maintain, and Defendants’ experts dispute, that this analysis of the

entire study population is the only one contemplated in the protocol, and by scientific

convention, should be the only result from which conclusions about efficacy can be drawn. (Id.

¶¶ 37-38.) Because there was no statistically significant benefit of treatment over control for any

cognitive task in the study population as a whole, the Madison Memory Study does not support

the Challenged Claims. (Soberats Decl. Ex. A, Sano Aff. Report ¶¶ 35, 37.)




                                    (Pls.’ SOF ¶ 36.) Dr. Wei holds steadfast to this view even

though Defendants used a Type I error rate of p less than or equal to 0.05 to determine statistical

significance in the Madison Memory Study itself, and Plaintiffs’ experts are measuring the

study’s results using the very measure of statistical significance Defendants selected. (Pls.’ SOF

¶ 35.) Notwithstanding the fault in Dr. Wei’s criticism, the fact remains that the parties’ experts

cannot even agree on the main finding of Defendants’ primary substantiation, thereby rendering

summary judgment wholly inappropriate.

       In addition, the parties’ experts disagree on whether certain so-called “statistically

significant” results for the AD8 0-1 and 0-2 subgroups are, in fact, statistically significant. (Pls.’
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SOF ¶¶ 39-42.) According to Plaintiffs’ experts, any selective findings that Defendants publicly

reported as “statistically significant” for the AD8 0-1 and 0-2 subgroups are unreliable because

they are based on extensive and statistically flawed post hoc mining of the data that was

performed after the study as a whole failed to produce positive results. (Id. ¶¶ 39-41.) Even if

one were to assume that Defendants intended to analyze the AD8 0-1 and AD8 0-2 subgroups

before they started the Madison Memory Study – which they did not – none of the results for

these two subgroups would be statistically significant after application of a proper statistical

correction. (Id.)



                            . (Id. ¶ 42.)

          Finally, Plaintiffs’ expert, Dr. Sano, contends that the purportedly statistically significant

results Defendants report for the AD8 0-1 and 0-2 subgroups are not clinically meaningful, as

they do not reflect improvement in memory. (Id. ¶ 43-45.) Given the lack of statistically

significant and clinically meaningful results, Plaintiffs’ experts opine, and Defendants’ experts

dispute, that the Madison Memory Study does not show that Prevagen improves memory or

cognition in humans. (Id. ¶ 46.) Resolution of this clash of opinions is predicated on material

facts that would undoubtedly “affect the outcome of the suit under the governing law.” ABC v.

Goodfriend, No. 19-Civ-7136 (LLS), 2021 U.S. Dist. LEXIS 166018, at *6 (S.D.N.Y. Sept. 1,

2021) (internal quotation marks omitted). The veracity of these expert opinions is for the jury to

decide.




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    IV.        GENUINE ISSUES OF MATERIAL FACT EXIST AS TO DEFENDANTS’
               OTHER PURPORTED SUBSTANTIATION MATERIALS

          A.     Genuine Issues of Material Fact as to Animal and In Vitro Studies

          The parties’ experts also offer conflicting opinions on what, if any, conclusions can be

drawn from Defendants’ animal and in vitro research as that research applies to humans. (Pls.’

SOF ¶ 47-50.) While Dr. Sano believes that testing on humans is necessary to substantiate

Defendants’ memory and cognitive improvement claims, Defendants’ experts maintain that in

vitro and animal studies indicate that Prevagen’s active ingredient, apoaequorin, provides

cognitive benefits. (Defs.’ SOF ¶ 84, 86, 88; Pls.’ SOF ¶ 47-50.) Defendants’ experts assume

that these animal and in vitro studies have scientific merit and are applicable to humans even

though the FTC Guidance cautions that such studies are likely inadequate unless human research

is not feasible or such studies are widely accepted in the scientific community as acceptable

substitutes for human research, which according to Dr. Sano, they are not. (See Graham Decl.

Ex. F, FTC Guidance at QUI-FTCNY-00189213-14; see also FTC v. SlimAmerica, Inc., 77 F.

Supp. 2d 1263, 1274 (S.D. Fla. 1999) (noting animal and in vitro studies “cannot be

characterized as serious scientific research” without medical proof that effects would be the same

in humans, and thus, did not constitute competent and reliable scientific evidence); Western

Sugar Coop. v. Archer-Daniels-Midland Co., No. 2:11-cv-3473-CBM-(PJWX) (C.D. Cal Oct.

23, 2015) (excluding opinions of Defendants’ expert, Dr. David Katz, because “studies

conducted on laboratory rats are not relevant or reliable under Federal Rule of Evidence 702”

without a demonstration of “why the results of those studies should be extrapolated to humans in

this case”).)

          Even assuming the in vitro, dog, and rat studies could add up to substantiation for a

health claim about efficacy in humans, the studies on which Defendants rely, taken as a whole,


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do not substantiate – but rather refute – Defendants’ advertising claims. For example,

Defendants commissioned a pepsin digestion experiment that demonstrated that apoaequorin is

rapidly digested in laboratory conditions that simulate the stomach environment and, thus, would

not enter the bloodstream intact to have a therapeutic effect. (Plaintiffs’ Response to

Defendants’ Rule 56.1 Statement (“Pls.’ Resp. Defs.’ SOF”) ¶ 84.) Defendants also

commissioned a rat study in which orally administered apoaequorin was not shown to have any

protective effect on the rat brains. (Pls.’ Resp. Defs.’ SOF ¶¶ 84-85.) And Defendants

conducted a canine study on orally administered apoaequorin that provided no evidence that it

could cross either the gastrointestinal tract or the blood-brain barrier. (Pls.’ Resp. Defs.’ SOF ¶¶

84, 86-88.) This evidence supports the conclusion that apoaequorin, administered orally (as

Prevagen is), cannot survive digestion intact to have any therapeutic effect. (Pls.’ Resp. Defs.’

SOF ¶¶ 84-88.)

       B.      Genuine Issues of Material Fact as to Open Label Research

       Dr. Sano opines, and Defendants dispute, that open-label research that lacks a placebo-

control and uses only self-reported outcome measures does not constitute competent and reliable

scientific evidence to support the Challenged Claims. (Pls.’ SOF ¶ 51-53; Defs.’ SOF ¶¶ 89-93.)

According to Dr. Sano, the Sunsho Pharmaceutical Study suffered from significant

methodological flaws in addition to lacking a placebo control and blinding. (Pls.’ SOF ¶ 52.)

The study also contained no reference to a reliable method for measuring cognitive function and

reported serious compliance issues, stating, for example, that only 5 of the 15 subjects took

Prevagen every day, as directed. (Id.) Defendants’ experts conclude that the Sunsho

Pharmaceutical Trial reported that “the effect of ‘Prevagen’ can be considered to be favorable

from the viewpoint of its use as a brain supplement.” (Id. at 53.) This battle of the experts

cannot be resolved on a motion for summary judgment.
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       C.      Genuine Issues of Material Fact as to Vitamin D Scientific Literature

       Although Defendants added Vitamin D to Prevagen’s formula in 2016, approximately

nine years after they first sold Prevagen, they have not conducted any testing on the Prevagen

formula containing apoaequorin and Vitamin D in the intervening six years. All of Defendants’

research is on the apoaequorin ingredient alone. While Defendants maintain that scientific

literature supports a relationship between Vitamin D and improved cognitive function, the only

basis for this assertion consists of the disputed opinions of Mindy Kurzer, Ph.D., a professor of

nutrition who is unqualified to testify competently about the purported cognitive benefits of

Vitamin D supplementation under Fed. R. Evid. 702 and Daubert and whose testimony on this

topic should be excluded.9 (Defs.’ SOF ¶¶ 116-120.) Plaintiffs’ expert, Dr. Sano, disagrees with

Dr. Kurzer’s unfounded conclusions and opines that there is no evidence to conclude that oral

administration of Vitamin D, either alone or in combination with apoaequorin, improves memory

or provides any other cognitive benefit in the general population. (Pls.’ SOF ¶¶ 54-56; Soberats

Decl. Ex. A, Sano Aff. Report ¶¶ 22, 114-120, 125.)




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        Dr. Kurzer has no experience in clinical research involving interventions to treat persons
with memory loss or cognitive impairment. (Soberats Decl. Ex. I, Kurzer Tr. at 34:9-36:18.)
She is not a member of any academic journals or professional organizations in these areas. (Id.
at 36:19-37:15.) She is not a clinician, has never evaluated anyone’s cognitive function, and has
never used the memory assessments employed by Defendants. (Id. at 37:16-39:12.); see, e.g.,
Daubert, 509 U.S. at 597. Dr. Kurzer simply has no adequate qualifications to offer competent
testimony on memory and cognitive function, or the purported cognitive benefits of Vitamin D
supplementation. It is well established that a witness may not offer expert testimony on subjects
in which she lacks expertise. Fed. R. Evid. 702. Therefore, Plaintiffs intend to seek leave to
move to exclude her testimony.

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   V.      GENUINE ISSUES OF MATERIAL FACT EXIST REGARDING THE USE
           AND SUFFICIENCY OF THE DISCLAIMER MANDATED BY THE
           SETTLEMENT IN COLLINS V. QUINCY BIOSCIENCE, LLC

        Defendants argue that, because they no longer disseminate the specific ads attached as

exhibits to the Complaint, and allegedly have incorporated into their current advertising the

qualifying language required by the settlement agreement in the matter of Collins v. Quincy

Bioscience, LLC, they are no longer making the Challenged Claims in violation of the FTC Act

and parallel New York law. Defendants’ argument fails for multiple reasons. First, on the eve of

Plaintiffs’ deadline to submit the present brief, Defendants produced evidence that they do, in

fact, continue to advertise Prevagen without the Collins Qualifier, despite the representations

made in support of their present motion. (Defs.’ Br. at 15-16, 46.) Second, Plaintiffs note it is

undisputed that Defendants’ advertisements did not contain this disclaimer at the time this action

was commenced in 2017 and did not even agree to add the Collins Qualifier until 2020.

Defendants also ignore the fact that the Complaint does not challenge only the advertisements

quoted therein or attached thereto. (See Compl. ¶¶ 27, 36, 39, 42, 44.) Additionally, Defendants

have failed to produce sufficient evidence to allow the Court to find that the Qualifier, as used in

the various media employed by Defendants, changes the net impression of Defendants’ ads.

Despite admittedly marketing Prevagen through a wide variety of media, including television,

radio, and the internet, the only advertising containing the Qualifier that Defendants submitted

with their motion consisted of a partial sampling of product packaging and labeling. This simply

is insufficient to allow the Court to rule that the wide range of Defendants’ current advertising is,

by virtue of the Qualifier, not deceptive.

        In any event, the Qualifier does not cure the deceptive net impression of Defendants’ ads,

so that Defendants in fact continue to make the deceptive claims challenged in the Complaint.

Thus, disputes over whether all of Defendants’ advertising contain the Qualifier and the
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sufficiency and effect of the Qualifier constitute issues of material fact precluding summary

judgment in Defendants’ favor. See FTC v. DIRECTV, No. 15-cv-01129-HSG, 2016 WL

5339797, at *3 (N.D. Cal. Sept. 23, 2016) (denying defendants’ motion for partial summary

judgment on grounds there were issues of fact regarding whether disclosures were sufficiently

clear and conspicuous and adequately imparted all required information).

       A.       Defendants Have Failed to Submit Sufficient Evidence to Show That Their
                Advertising with the Qualifier is Not Deceptive

       Defendants argue that because they allegedly have incorporated the Qualifier into their

current advertising, they are no longer making the Challenged Claims in violation of the FTC

Act and parallel New York law. Defendants, however, have failed to submit sufficient evidence

to support their contention that “[t]he current marketing for Prevagen includes one of the

Qualifiers, which are prominently displayed.” (Defs.’ Br. at 38 (citing SOF ¶ 52).) The Court

therefore must disregard Defendants’ unsupported assertion of fact. See Holtz v. Rockefeller &

Co., 258 F.3d 62, 74 (2d Cir. 2001) (unsupported assertions of undisputed facts must be

disregarded).

       Defendants do not dispute that they have marketed Prevagen through a wide range of

media, including television, radio, print, the internet, and social media. (Soberats Decl. Ex. E,

Defendants’ Responses and Proposed Counter-Findings to Plaintiffs’ Proposed Findings of Fact

No. 35.) However, the statement of fact that Defendants cite in support of their assertion that

“all” current marketing for Prevagen includes the Qualifier relates only to labeling. (See SOF ¶

52 (citing Olson Decl. ¶ 42).) In addition, while Todd Olson states in his declaration that,

following the Collins settlement, Defendants incorporated the Qualifier into all new Prevagen

advertising, he cites no evidence in support of that assertion. (Olson Decl. ¶ 41.) Indeed, the

only evidence of advertising containing the Qualifier submitted by Defendants in support of their


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motion consists of a partial sampling of packaging and labeling: two packages (for their Extra

Strength 60 capsule product) and three labels (for their Regular Strength 30 capsule, Extra

Strength 60 capsule, and Professional Formula 30 capsule products). (Olson Decl. ¶ 43, Ex. F.)

Defendants submitted no television, radio, or internet advertising, and the Court cannot accept

their unsupported assertion that these ads contain the Qualifier. As a result, Defendants have not

provided the Court with sufficient evidence to find that Defendants’ current advertising does not

violate the statutes at issue in this case – to the contrary, they have produced evidence suggesting

that their current advertising does contain the disclaimers they claim cures their deceptive

claims.10

       B.      Defendants Continue to Disseminate Advertising Without the Qualifier

       Despite their assertion to the contrary, Defendants have disseminated ads without the

Collins Qualifier since the entry of the Collins settlement. Defendants have aired two television

advertisements without the disclaimer, both featuring testimonialists making claims about



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        Defendants should be precluded from submitting any evidence of current advertising not
produced to Plaintiffs prior to Defendants’ summary judgment filing. See Fed. R. Civ. P. 37(c)
(a party that fails to supplement its discovery responses as required by Fed. R. Civ. P. 26(e) “is
not allowed to use that information … to supply evidence on a motion … unless the failure was
substantially justified or harmless”). A party’s obligation to supplement its discovery responses
extends beyond the close of discovery. See US v. Dish Network, LLC, No. 09-3073, 2016 WL
29244, at *5-7 (C.D. Ill. Jan. 4, 2016). Plaintiffs, beginning in February 2022, repeatedly asked
Defendants to supplement their discovery responses by producing recently disseminated
advertising, including television and radio ads. (Soberats Decl. ¶ 17.) On April 7, Defendants
produced a single, 45-page pdf document that appeared to comprise labeling, packaging, printed
materials, two radio ad transcripts, and two possible screenshots. (Id.) After additional
correspondence, in which Defendants initially denied having an obligation to update their
discovery responses, Defendants produced 36 television and radio ads on the evening of June 14,
two nights before Plaintiffs’ deadline to oppose Defendants’ motion for summary judgment.
(Id.) Defendants’ delay in making their production—almost four months after Plaintiffs’ initial
request and on the eve of Plaintiffs’ filing deadline—is unjustified. Additionally, Plaintiffs
would be prejudiced should Defendants be allowed to submit and argue evidence with their
reply.

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Prevagen’s positive effect on their memory and cognition. (Ducklow Decl. ¶¶ 3-4, Attachments

2-3.)11 In addition, Defendants’ website quincybioscience.com features three testimonial

videos—in which the featured individuals make similar claims about Prevagen’s benefits—that

don’t contain the Collins Qualifier. (Id. ¶¶ 5-6, Attachments 4-6, 8.) The Collins Qualifier is not

displayed on any of the pages of the quincybioscience.com website. (Id. at Attachment 4.) The

only time it appears, along with audio reference to the Madison Memory Study subgroups, is

over three minutes into a five-minute video entitled “Watch the Story of Prevagen” also featured

on the website. (Id. ¶ 6, Attachment 7.) Thus, as a factual matter, Defendants continue to violate

the law as alleged in the Complaint.

       C.      The Collins Qualifier Fails to Cure the Deceptive Net Impression of
               Defendants’ Ads

       For any ad containing the Collins Qualifier, the disclaimer fails to alter the deceptive net

impression of Defendants’ ads and Defendants therefore continue to make the deceptive claims

challenged in the Complaint. The presence of a disclaimer does not necessarily mean that an ad

is not deceptive. Removatron Int’l Corp., 884 F.2d at 1497 (“Disclaimers . . . are not adequate to

avoid liability unless they are sufficiently prominent and unambiguous to change the apparent

meaning of the claims and to leave an accurate impression.”); see also FTC v. Cyberspace.com,

LLC, 453 F.3d 1196, 1200-01 (9th Cir. 2006) (rejecting argument that “fine print notices” on the

reverse side of deceptive marketing materials precluded liability under the FTC Act); Indep.

Directory Corp. v. FTC, 188 F.2d 468 (2d Cir. 1951) (upholding FTC determination that


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        Defendants failed to produce dissemination for these ads, despite the fact that Plaintiffs
had requested such information when Plaintiffs first asked Defendants in February 2022 to
update their discovery responses in accordance with Fed. R. Civ. P. 26(e). However, each
television ad contains a production date (shown at the beginning of each video) that post-dates
the Collins settlement, (Ducklow Decl. Atts. 2-3), and Defendants represented on June 13 that
the ads they would be producing aired after the settlement date. (Soberats Decl. ¶17.)

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marketing materials were deceptive despite presence of printed disclosure). The fact finder must

determine the net impression conveyed by Defendants’ ad, including whether a disclaimer cures

deception. See, e.g., FTC v. Med. Billers Network, 543 F. Supp. 2d 283, 304 (S.D.N.Y. 2008);

FTC v. Five-Star Auto Club, 97 F. Supp. 2d 502, 528 (S.D.N.Y. 2000) (considering the

representations “‘as a whole without emphasizing isolated words or phrases apart from their

context’”).

       The Collins Qualifier fails to alter the deceptive net impression of Defendants’ ads

because (1) it is insufficiently prominent; and (2) it improperly represents that Defendants’

flawed analysis of subgroups from the Madison Memory Study supports the Challenged Claims.

The Qualifier is insufficiently prominent to change the net impression of the only advertising

materials Defendants submitted in support of their motion: the packaging and labeling of certain

Prevagen products. The Qualifier appears in small font on the back of the packages and labels,

while the words “Improves Memory” appear in larger font on the front. (Olson Decl. Ex. F.).

The front side of the packaging contains the additional representations that Prevagen supports

healthy brain function, sharper mind, and clearer thinking. (Id. at QUI-FTCNY-00189976 -

QUI-FTCNY-00189977.)

       The Qualifier in post-settlement television advertising also is insufficiently prominent to

alter the net impression. See Removatron Int’l Corp., 884 F.2d at 1497 (disclaimers must be

sufficiently prominent and unambiguous to change the apparent meaning of claims). The

Qualifier appears only for a relatively short time, in small, relatively faint font, while other

background action and commentary regarding Prevagen’s benefits take place. In addition, in

larger text, the words “Improves Memory” appear onscreen below the word “Prevagen” for the

duration of the ad. In one thirty-second ad, the Qualifier appears onscreen for approximately 6



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seconds, in small font, underneath a bar chart purportedly showing a beneficial effect of

Prevagen over 90 days. (Ducklow Decl., Attachment 12.) While the Qualifier is onscreen, an

upwardly moving arrow appears over the chart, undulating images of jellyfish appear in the

background, and the announcer states that “in clinical trials, Prevagen has been shown to

improve short-term memory.” (Id.) Similarly, in a television ad featuring a testimonialist

identified as “Douglas,” the disclaimer appears in small font near the bottom of the screen for

approximately 5 of the ad’s 30 seconds, while the testimonialist gestures and makes statements

about Prevagen’s beneficial effects. (Id., Attachment 13.) These disclaimers are insufficient.

(“A … brief video superscript in a television ad … [is] not likely to be adequate. … [M]arketers

should … avoid small type … and … distracting elements that could undercut or contradict the

disclosure.” (Graham Decl. Ex. F, FTC Guidance at QUI-FTCNY 00189210.)

       Even if the Qualifier were prominently displayed in all advertising, it would be incapable

of altering the deceptive net impression of Defendants’ ads. The Qualifier states that

Defendants’ claims are based on the results of subgroups of the Madison Memory Study

subjects. (Defs.’ SOF ¶ 45.) Plaintiffs’ experts, however, have opined that Defendants’

subgroup analysis was improper and flawed in multiple respects and therefore fails to prove any

beneficial effect of Prevagen. (Soberats Decl. Ex. A, Sano Aff. Report ¶¶ 20, 38, 68-73, 104,

123; Soberats Decl. Ex. B, Sano Rebuttal Report ¶¶ 3(c), 7-9; Soberats Decl. Ex. C, Wittes Aff.

Report ¶¶ 13-14, 54-56, 59-74, 78(c)-(d); Soberats Decl. Ex. D, Wittes Rebuttal Report ¶¶ 1-3, 5-

18, 20-27.) Indeed, in the opinion of Plaintiffs’ experts, neither the Madison Memory Study as a

whole, nor any other purported substantiation, supports the claims that Prevagen improves

memory or imparts any other cognitive benefit. (Soberats Decl. Ex. A, Sano Aff. Report ¶¶ 13-

125; Soberats Decl. Ex. B, Sano Rebuttal Report ¶¶ 1-22; Soberats Decl. Ex. C, Wittes Aff.



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Report ¶¶ 13-78; Soberats Decl. Ex. D, Wittes Rebuttal Report ¶¶ 1-27.) Plaintiffs therefore

contend that no disclaimer or qualifying language could cure the deceptive nature of the

Challenged Claims.

   VI.      DEFENDANTS’ CLAIMS ARE LIKELY TO MISLEAD CONSUMERS

         Defendants argue that they are entitled to summary judgment because Plaintiffs have

failed to offer any evidence that consumers were likely to be misled by their advertisements.

(Defs.’ Br. at 31.) Defendants’ argument is fatally flawed, as it ignores longstanding case law

providing that false or unsubstantiated claims are deceptive as a matter of law.

         Plaintiffs can demonstrate that a claim is “likely to mislead” consumers by showing that

(1) the claim is false; (2) the marketer lacked a “reasonable basis”—or adequate substantiation—

for making it; or (3) both. Alcoholism Cure Corp., 2011 WL 13137951, at *26. When

advertisers lack a reasonable basis for their claims, the claims “are deceptive as a matter of law.”

FTC v. Direct Mktg. Concepts, Inc., 624 F.3d 1, 8 (1st Cir. 2010); Thompson Med. Co., Inc., 791

F.2d at 193. Plaintiffs need not provide evidence of actual deception to establish the elements of

their case. See Trans World Accounts, Inc. v. FTC, 594 F.2d 212, 214 (9th Cir. 1979); FTC v.

Commerce Planet, Inc., 878 F. Supp. 2d 1048, 1063 (C.D. Cal. 2012), aff'd in part, vacated in

part, remanded, 815 F.3d 593 (9th Cir. 2016).

         Plaintiffs thus can demonstrate that Defendants’ efficacy claims are “likely to mislead”

by establishing through the testimony of their expert witnesses the requisite level of

substantiation and that Defendants’ proffered substantiation is inadequate. See Braswell, 2005

WL 4227194, at *10 (looking to “what experts in the relevant area of study would consider to be

adequate in determining the amount of and type of evidence that is sufficient” to substantiate

claims). Plaintiffs also can prove that Defendants’ establishment claims were false, and

therefore deceptive, by showing that Prevagen’s efficacy was not substantiated by an RCT.
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Defendants’ argument that they are entitled to summary judgment on this ground thus is without

merit.

    VII.      THE COURT CAN GRANT PLAINTIFFS’ REQUEST FOR INJUNCTIVE
              RELIEF

         A.     Defendants Are Engaged in Unlawful Conduct

         Relying on U.S. v. W.T. Grant Co., 345 U.S. 629 (1953), Defendants argue that the Court

cannot grant injunctive relief because, in their view, their unlawful conduct has ceased, and

Plaintiffs have not demonstrated that the unlawful conduct is likely to recur. (Defs.’ Br. at 34,

41.) Defendants also argue that the FTC has not satisfied the standard for injunctive relief under

Section 13(b) of the FTC Act. (Id. at 37–38.) Defendants misconstrue the standard for granting

injunctive relief and Section 13(b) of the FTC Act. In fact, Defendants’ unlawful conduct is

ongoing. Even so, Defendants’ conduct need not be ongoing, or even likely to recur, in order for

the NYAG to obtain injunctive relief.

               1.       Plaintiffs have satisfied the standard for injunctive relief under
                        W.T. Grant that the Second Circuit applies

         Defendants’ reliance on W.T. Grant Co. is misplaced. In W.T. Grant, the Court made

clear that, “[i]n determining whether to impose an injunction where a defendant has ceased the

offending conduct, courts may consider ‘the bona fides of the defendant’s expressed intent to

comply’ with the law, ‘the effectiveness of the discontinuance,’ and ‘the character of the past

violations.’” E.E.O.C. v. KarenKim, Inc., 698 F.3d 92, 100 (2d Cir. 2012) (alteration omitted)

(quoting W.T. Grant, 345 U.S. at 633). Although the Court suggested that it might have granted

injunctive relief, it found that that it was not an abuse of discretion for the district court to deny

injunctive relief under the facts of that case.

         Here injunctive relief is well-warranted. Not only did Defendants deceptively advertise

for years that Prevagen improved memory and cognition, and was clinically shown to do so,

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Defendants’ unlawful conduct has not, in fact, ceased. Injunctive relief is therefore warranted.

See Am. Freedom Def. Initiative v. Metro. Transp. Auth., 815 F.3d 105, 109 (2d Cir. 2016).

When the Complaint was filed, Defendants were actively advertising Prevagen and Plaintiffs

alleged that such advertising conveyed deceptive health claims for Prevagen. (See, e.g., Compl.

¶¶ 19–27, 36-45.) Defendants still convey the same deceptive representations for Prevagen that

were alleged in the Complaint. Although Defendants argue that their unlawful conduct has

ceased as a result of adding the Collins Qualifier, this argument fails because, as discussed

above, the Collins Qualifier is inadequate to change the deceptive net impression of Defendants’

ads. Moreover, despite Defendants’ failure to produce complete dissemination information for

their current advertising, Plaintiffs have discovered that at least some of Defendants’ current

advertisements do not contain the Collins Qualifier, as discussed above.

        “The relevant question is whether the defendant’s conduct has been ‘sufficiently altered

so as to present a substantially different controversy from the one that existed when suit was

filed.’” Am. Freedom Def. Initiative, 815 F.3d at 109 (alteration omitted) (quoting Lamar

Advert. of Penn, LLC v. Town of Orchard Park, N.Y., 356 F.3d 365, 378 (2d Cir. 2004)).

Defendants have not sufficiently altered their conduct because their supposed “change in

conduct” (adding the Collins Qualifier to their advertising) “is ‘merely superficial or suffers from

similar infirmities as it did at the outset.’” Id. (alteration omitted) (quoting Lamar Advert., 356

F.3d at 378). As explained supra, Defendants’ advertising is deceptive even if their

advertisements include the Collins Qualifier. With or without the Qualifier, the advertising

conveys the same deceptive representations alleged in the Complaint.

        Defendants also ignore that, under the New York laws at issue, the NYAG need not

establish that the conduct is likely to recur in order to obtain injunctive relief. See, e.g., People v.



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Applied Card Sys., Inc., 11 N.Y.3d 105, 109 (2008); People v. Gen. Elec. Co., 302 A.D.2d 314,

316 (N.Y. 1st Dep’t 2003) (“[e]ven though GE voluntarily ceased its deceptive practices, the IAS

court . . . retained the power to grant injunctive relief . . . .”) (internal citations omitted). In State

v. Midland Equities, 117 Misc. 2d 203, 207 (Sup. Ct. N.Y. Cnty. 1982), the court recognized that

“[v]oluntary discontinuance of improper or illegal activity is no assurance that such activity will

not be resumed” and that “even if the court were to credit respondents’ representations with

regard to future activity, an order granting injunctive relief would not harm respondents and

could be properly granted.” See also People v. Ludwig Baumann & Co., 56 Misc. 2d 153, 159

(Sup. Ct. N.Y. Cnty. 1968) (finding that the injunction will serve as a deterrent to the

respondents and any others who may be inclined to “prey upon a gullible and unwary public”).

        Injunctive relief also is necessary because the Collins settlement does not cover all of the

claims challenged in the instant action. Specifically, the Collins settlement requires Defendants

to use the Qualifier only when representing that Prevagen: (1) improves memory; (2) improves

memory within 90 days or any other period of time; or (3) reduces memory problems associated

with aging. (Graham Decl. Ex. HH, Settlement Agreement and Release at 7.) The settlement

therefore does not cover the claims challenged by Plaintiffs that Prevagen “provides other

cognitive benefits, including, but not limited to, healthy brain function, a sharper mind, and

clearer thinking.” (Compl. ¶¶ 36, 42, 44.) The settlement also does not cover any of the

establishment claims—those alleging that Prevagen’s benefits are clinically shown—challenged

by Plaintiffs. (Id. ¶¶ 39, 42, 44.) While Defendants might argue that they do, or eventually will,

use the Qualifier when making any claim for Prevagen, the fact remains that they are not legally

obligated to do so.

        Accordingly, Plaintiffs have established that injunctive relief is not only permissible, but



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necessary.

              2.      The FTC has satisfied the standard for injunctive relief under the
                      FTC Act

       Defendants contend that the FTC has not met the standard for injunctive relief under the

FTC Act based on the same argument discussed above: Defendants claim that they have ceased

their unlawful conduct by including the Collins Qualifier in their advertisements. (See Defs.’ Br.

at 38; see also id. at 41.) This argument also fails, because Defendants’ unlawful conduct has

not ceased.

       To the extent Defendants argue that the standard for seeking injunctive under

Section 13(b) is different than under W.T. Grant, that argument has no legal support. In

particular, Defendants’ reliance on the Ninth Circuit’s decision in FTC v. Qualcomm Inc.,

969 F.3d 974 (9th Cir. 2020), is misplaced. In interpreting Section 13(b), the Qualcomm court

relied on FTC v. Evans Products Co., 775 F.2d 1084 (9th Cir. 1985). But the standard applied in

Evans Products (and thus Qualcomm) is the same standard that the Supreme Court articulated in

W.T. Grant: the FTC is entitled to an injunction “if the wrongs are ongoing or likely to recur.”

Evans Prods., 775 F.2d at 1087 (citing W.T. Grant, 345 U.S. at 632-33); see also Qualcomm

Inc., 969 F.3d at 1005 (quoting Evans Prods., 775 F.2d at 1087). In other words, Qualcomm and

Evans Products demonstrate that the FTC is entitled to an injunction if it satisfies the W.T. Grant

standard—which it has.

       Defendants misinterpret the other case on which they rely, FTC v. Shire ViroPharma,

Inc., 917 F.3d 147 (3d Cir. 2019). The holding in that case established a pleading standard under

Section 13(b) of the FTC Act: “the FTC must plead that [the defendant] ‘is’ violating or ‘is

about to’ violate the law.” Shire, 917 F.3d at 161 (emphasis added). This pleading standard is

not relevant at the summary judgment stage of the litigation. Moreover, the Complaint clearly


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alleged that Defendants’ unlawful conduct was ongoing, satisfying the Shire pleading standard.12

       With respect to the question at issue here—whether Plaintiffs are entitled to an injunction

at this stage in the litigation—Shire ViroPharma concluded that the relevant analysis is whether

a defendant’s conduct is ongoing or likely to recur, which is the same standard from W.T. Grant.

See id. at 158 (“[T]he ‘about to violate’ and ‘likelihood of recurrence’ standards coexist. The

‘about to violate’ pleading requirement—which is applied right out of the gate—is not

inconsistent with the likelihood of recurrence standard, which a court uses to determine the

FTC’s entitlement to an injunction.”). Courts in the Second Circuit apply this same W.T. Grant

standard to determine whether the FTC is entitled to injunctive relief. See, e.g., FTC v. Shkreli,

No. 20-CV-706, 2022 WL 135026, at *44 (S.D.N.Y. Jan. 14, 2022); FTC v. Cuban Exch., Inc.,

No. 12-CV-5890, 2014 WL 3756358, at *4 (E.D.N.Y. July 30, 2014); Med. Billers Network,

Inc., 543 F. Supp. 2d at 323. Because Defendants’ conduct is ongoing, the FTC has met this

standard and thus has satisfied the requirement for injunctive relief under the FTC Act.

       B.      This Is a Proper Case in Which the Court Should Grant Injunctive Relief

       Section 13(b) of the FTC Act “provides that ‘in proper cases the [FTC] may seek, and

after proper proof, the court may issue, a permanent injunction.’” FTC v. Moses, 913 F.3d 297,

309 (2d Cir. 2019) (alteration in original) (emphasis added) (quoting 15 U.S.C. § 53(b)).

Defendants mistakenly contend that the phrase “in proper cases” means the FTC may obtain a




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        The Second Circuit has never adopted Shire’s interpretation of Section 13(b) of the FTC
Act. Rather, in S.E.C. v. Commonwealth Chem. Sec., Inc., 574 F.2d 90, 99 (2d Cir. 1978), the
Second Circuit interpreted similar language in the Securities Act—authorizing injunctive relief
where any person “‘is engaged or about to engage in any acts or practices’ which constitute or
will constitute a violation”—as “requir[ing] a finding of ‘likelihood’ or ‘propensity’ to engage in
future violations.”

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permanent injunction only where it first has sought a preliminary injunction or temporary

restraining order. (Defs.’ Br. at 39–40 & n.11.)

       To begin with, Defendants cite no authority in support of their novel theory and the only

two cases they even mention reached the exact opposite conclusion. See FTC v. Hoyal &

Assocs., Inc., 859 F. App’x 117, 120 (9th Cir. 2021) (“We have long held that the FTC can

obtain injunctive relief without initiating administrative proceedings.”); FTC v. Am. Future Sys.,

Inc., No. 20-CV-2266, 2021 WL 3185777, at *1 (E.D. Pa. July 26, 2021) (“Neither AMG Capital

nor any other case in this Circuit or others requires FTC to seek or obtain a temporary restraining

order or preliminary injunction before pursuing permanent injunctive relief under Section

13(b).”). Indeed, every court that has considered this question has rejected Defendants’ reading

of Section 13(b). For example, in FTC v. Electronic Payment Solutions of America Inc., the

court reasoned that “the provision of §13(b) authorizing the FTC to seek a permanent injunction

[] operate[s] separately from the provision authorizing the FTC to seek a preliminary injunction

while pursuing administrative proceedings.” No. 17‑CV‑2535, 2021 WL 3661138, at *16 (D.

Ariz. Aug. 11, 2021) (citing Evans Prods., 775 F.2d at 1086). And in FTC v. Neora LLC, the

court rejected the argument that, under Section 13(b), “permanent injunctions are wholly

unavailable absent a prior administrative proceeding or previously issued preliminary injunction

or temporary restraining order,” reasoning that this argument was “inconsistent” with

Section 13(b)’s “legislative history and relevant precedent.” 552 F. Supp. 3d 628, 635-36

(N.D. Tex. 2021); see also FTC v. Noland, No. 20CV47, 2021 WL 4127292, at *17 (D. Ariz.

Sept. 9, 2021) (same); FTC v. SuperTherm Inc., No. 20CV8190, 2021 WL 3419035, at *6

(D. Ariz. Aug. 5, 2021) (same).




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        AMG Cap. Mgmt., LLC v. FTC, 141 S. Ct. 1341 (2021), further supports the conclusion

that Section 13(b) does not require the FTC to seek a temporary restraining order or preliminary

injunction in order to seek a permanent injunction. In AMG, the Supreme Court explained that

Section 13(b) provides the FTC with two options when seeking injunctive relief from a federal

court. First, the statute permits the FTC to seek a temporary restraining order or preliminary

injunction, while administrative proceedings are ongoing. Id. at 1348 (citing 15 U.S.C. § 53(b)).

Second, Section 13(b) may “also be read” as permitting the FTC to “(‘in proper cases’) dispense

with administrative proceedings to seek . . . an injunction[].” Id. (emphasis omitted).

Defendants’ argument that Hoyal renders “Section 13(b)’s ‘proper case’ proviso completely

superfluous” is wrong. (Defs.’ Br. at 39.) It overlooks that, during the course of a Section 13(b)

case, the FTC must show its entitlement to injunctive relief twice. When the FTC files its

complaint, the Commission must have reason to believe that a defendant’s unlawful conduct is

ongoing or likely to recur, for it to be a “proper case.” Later, when the FTC seeks a permanent

injunction, it must show that the injunction is necessary, again, because the defendant’s unlawful

conduct is ongoing or likely to recur. Here, as discussed above, the FTC has made both

showings because Defendants’ unlawful conduct was ongoing when the Complaint was filed and

is still ongoing.

        In sum, this action is a “proper case” in which this Court can grant the FTC a permanent

injunction.

        C.      The Collins Settlement Does Not Bar the Court From Granting Injunctive
                Relief

        Defendants argue that this Court cannot enjoin the dissemination of advertising that

includes the Collins Qualifier because: 1) they “should” not be held liable for complying with a

settlement that a Florida district court found to be “fair, reasonable, and adequate”; 2) Plaintiffs


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did not object to the Collins settlement; 3) advertising with the Collins Qualifier is not deceptive;

and 4) it would be “unfair to permit Plaintiffs to assert a new theory of liability.” (Defs.’ Br.

at 41–43.)

        Defendants’ arguments are incorrect. The main case on which Defendants rely,

California v. IntelliGender, LLC, 771 F.3d 1169 (9th Cir. 2014), explains why a prior private

class action settlement cannot bar a public enforcement action. In that decision, the Ninth

Circuit reasoned that a private class action settlement, “though approved by the district court,”

does not bar a public enforcement action by state or federal government, “even though many of

the same claims are included in both actions,” because the enforcement action “implicates the

public’s interest as well as private interests, and therefore the remedial provisions sweep much

more broadly.” Id. at 1173, 1177-78 (discussing “the well-established general principle that the

government is not bound by private litigation when the government’s action seeks to enforce a

federal statute that implicates both public and private interests”). Here, the public enforcement

action involves claims under the FTC Act and New York law that implicate the public’s interest,

and that private class action plaintiffs cannot bring.

        In IntelliGender, the Ninth Circuit also explained that a public enforcement action is not

barred because the government declined to object to the proposed settlement after receiving

notice of it. Id. at 1178. The statute that requires that the government be notified of class action

settlements, “by its own terms, does not ‘impose any obligations, duties, or responsibilities upon,

Federal or State officials.’” Id. (quoting 28 U.S.C. § 1715(f)). Moreover, “state enforcement

actions serve other interests such as protecting citizens from future harm, and these interests

might not be served by intervention in ongoing settlement proceedings.” Id. at 1173. Thus, the

fact that Plaintiffs did not object to the Collins settlement is not a basis for barring this action or



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not granting injunctive relief here. See id. (“Nothing in [the] notification requirements could be

read to interfere with the power of states or the federal government to bring enforcement

actions.”).

        As for Defendants’ argument that their advertising is not deceptive because of the Collins

Qualifier, that argument has no merit for reasons explained supra. Plaintiffs are not asserting a

“new” theory of liability. Rather, Plaintiffs have consistently maintained that Defendants’

advertising has been and is deceptive—and thus unlawful—for the same reason all along.

Whether or not the Collins Qualifier is included, the advertising’s net impression conveys the

same deceptive representations regarding Prevagen’s supposed health benefits that were alleged

in the Complaint.13

        Defendants’ claims of prejudice distort the record in this case. The Complaint was filed

prior to the Collins settlement and of course does not discuss the Qualifier that resulted from that

settlement. Following the Collins settlement, Plaintiffs’ informed Defendants that their ongoing

advertisements were deceptive notwithstanding these disclaimers, and Plaintiffs produced

television ads with the Collins Qualifier to Defendants on September 8, 2021. Plaintiffs also

alerted Defendants that they had not “produced every piece of advertising or marketing

disseminated after the entry of [the Collins settlement].” Graham Decl. Ex. NN, Pls.’ Resps. &



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        The cases on which Defendants rely are readily distinguishable because the plaintiffs in
those cases were trying to raise completely new legal theories that were available at the outset of
those actions. See Lyman v. CSX Transp., Inc., 364 F. App’x 699, 701 (2d Cir. 2010) (rejecting
new negligence theory based on different facts that could have been alleged in complaint but
were raised for first time in summary judgment opposition); Busher v. Barry, No. 14-CV-4322,
2019 WL 6895281, at *15 (S.D.N.Y. Dec. 18, 2019) (rejecting new legal theory attempting to
revive time-barred claim that the court had rejected multiple times, months prior); Roberts v.
Ground Handling, Inc., No. 04-CV-4955, 2007 WL 2753862, at *3 (S.D.N.Y. Sept. 20, 2007)
(rejecting new damages theory raised at trial that was not raised during discovery, any motion
paper, or any court conference, but could have been raised earlier).

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Reply Counter-Findings to Defs.’ Prop. Findings of Fact at ¶ 117. This failure is important

because, as noted above, it appears that Defendants have not included the Collins Qualifier in

every current advertisement, despite their claims to the contrary.

       Accordingly, the Collins settlement does not prevent this Court from granting Plaintiffs’

requested relief.

   VIII. THE NYAG’S CLAIMS ARE NOT PREEMPTED

       Defendants have waived any contention that the NYAG’s claims are preempted.

Defendants raise preemption for the first time in their motion for summary judgment, without

citing anything in the factual record or any other reason why this affirmative defense was not

raised until five years after moving to dismiss this case and nearly three years after Defendants’

answers were filed. This Court has previously recognized that preemption should be raised as an

affirmative defense because “[p]reemption is a defense in the nature of avoidance which falls

within the realm of Rule 8(c) [of the Federal Rules of Civil Procedure].” Heller v. Delta Air

Lines, Inc., No. 922-cv-1937, 1993 WL 330093, at *3 (S.D.N.Y. Aug. 25, 1993). “[O]ne of the

main reasons for the rule stated in Fed. R. Civ. P. 8(c) is to avoid surprise to the plaintiff.”

United States v. Continental Ill. Nat’l Bank & Trust Co., 889 F.2d 1248, 1255 (2d Cir. 1989). It

is indeed a surprise that Defendants – who unsuccessfully argued five years ago that the FDA has

primary jurisdiction over the NYAG’s claims in their motions to dismiss – now assert a

preemption defense based on similar principles.

       In any event, Defendants’ contention that New York’s state law claims are preempted is

without basis. First, Defendants misconstrue the nature of New York’s claims here. The NYAG

is not seeking to impose labeling requirements that are different from those imposed under

federal law. The NYAG is seeking to have this Court preclude Defendants from making

misleading claims – not to force Defendants to make affirmative labeling statements. Second,
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Defendants ignore the fact that New York’s claims for deceptive advertising are not limited to

claims on Defendants’ labeling but include misrepresentations on their websites, infomercials,

television advertisements, on radio and social media, and in newspapers and magazines. (See

Compl. ¶¶ 27, 42, 44.) But even more fundamentally, Defendants mischaracterize the applicable

federal law. The Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq. (“FDCA”), as amended

by DSHEA, does not preempt state law claims for deceptive advertising.

       Deceptive advertising is subject to consumer protection enforcement by the NYAG and

the FTC, overlapping with FDA enforcement under DSHEA and FDCA. See Jovel v. I-Health,

Inc., No. 12-cv-5614, 2013 WL 5437065, at *5 (E.D.N.Y. Sept. 27, 2013) (noting that although

allegedly deceptive statements are part of a dietary supplement’s labeling “and may touch on an

area regulated by the FDA, consumer protection claims founded on their falsity are not

preempted”). The FDA focuses on safety, quality, and labeling, and explicitly defers to the FTC

on general regulation of “advertising, including infomercials, for dietary supplements.” See

FDA, Questions & Answers on Dietary Supplements, available at

https://www.fda.gov/food/information-consumers-using-dietary-supplements/questions-and-

answers-dietary-supplements (visited June 14, 2022).

       The FDCA is “directed to protecting the public by ensuring that drugs sold in the

marketplace are safe, effective and not misbranded” while misrepresentations in advertising are

“traditional claims of consumer misrepresentation” that are the focus of state consumer

protection laws. Hughes v. Ester C Co., 99 F. Supp. 3d 278, 287 (E.D.N.Y. Mar. 27, 2015).

Here, as in Hughes, the NYAG’s claims “do not require reference to FDA definitions, and the

misleading nature of the statement[s] can be verified without relying on any special expertise of

the FDA.” Id. (quoting Jovel, 2013 WL 5437065, at *5); see also Jovel, 2013 WL 5437065, at



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*6 (“The FDCA and the state law consumer protection statutes serve complementary, though

somewhat overlapping, roles.”) (internal quotation marks and citations omitted). Thus, the

federal statute applicable in this case – which is directed to false and misleading advertising

claims – is the FTC Act, not the FDCA and DSHEA. The FTC Act, which runs in parallel to the

state law claims asserted here, does not preempt those claims (nor do Defendants argue that it

does).

         Moreover, the claims for deceptive practices and false advertising under New York’s

General Business Law §§ 34914 and 350 as well as New York Executive Law § 63(12)15 are

based on the marketing, distribution, and sale of Prevagen products in the State of New York,

and thus fall within areas traditionally governed by the states’ police powers. In such areas, there

is a presumption against preemption. See Wyeth v. Levine, 555 U.S. 555, 565 (2009) (citing

Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996)); U.S. Smokeless Tobacco Mfg. Co. LLC v.

City of New York, 708 F.3d 428, 432 (2d Cir. 2013); see also Jovel, 2013 WL 5437065, at *5

(citing cases) (“In fields traditionally occupied by the states, such as health and safety regulation,

there is a strong presumption against federal preemption”). “[P]reemption is an affirmative




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        Contrary to Defendants’ assertion (Defs.’ Br. at 17), the NYAG need not establish that it
(or anyone) suffered injury as a result of Defendants’ deceptive acts and practices in order to
obtain relief under Section 349. Goshen v. Mutual Life Ins. Co. of New York, 98 N.Y.2d 314,
324 (2002); People v. Applied Card Sys., Inc., 27 A.D.3d 104, 107 (N.Y. 3d Dep’t 2005).
15
        Contrary to Defendants’ assertion (Defs.’ Br. at 17), Executive Law § 63(12) does indeed
create an independent cause of action for repeated fraudulent or illegal acts. See, e.g., People v.
Trump Entrepreneur Initiative LLC, 137 A.D.3d 409, 418 (N.Y. 1st Dep’t 2016). Defendants do
not advocate summary judgment on the NYAG’s Section 63(12) claim (Count III of the
Complaint) on account of this argument. Indeed, Defendants previously raised, and dropped,
this argument in connection with their Motion to Dismiss. (Compare Mem. of Law in Support of
Defs.’ Mot. to Dismiss (filed Apr. 6, 2017) [Dkt. No. 34] at 21-22 with Supp. Mem. of Law in
Further Support of Defs.’ Mot. to Dismiss (filed June 17, 2019) [Dkt. No. 63] at 9-10.)

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defense and the burden of proof lies with the party propounding it.” Izquierdo v. Mondelez Int’l,

Inc., No. 16-cv-04697, 2016 WL 6459832, at *4 (S.D.N.Y. Oct. 26, 2016).

       Courts have also declined to find preemption under the FDCA when a claim could have

arisen under state law separate and apart from federal law. See, e.g., Lara v. Cool Clouds

Distrib., No. 20-cv-8030, 2021 WL 613842, at *10 (D.N.J. Feb. 16, 2021) (finding no

preemption where, even without the FDCA, plaintiff’s claims could have arisen from traditional

state-law duties to provide adequate warnings about the dangers those products present); see also

Morelli v. Weider Nutrition Group, 275 A.D.2d 607, 607-08 (N.Y. Sup. Ct. 1st Dep’t 2000) (in

declining to find preemption over claims that defendant misrepresented nutrition content claims,

noting “[w]e perceive no reason to suppose that, in committing the power to enforce the [federal

Nutrition Labeling and Education Act], Congress intended to limit a State’s otherwise undoubted

power to afford consumers within its borders a statutory remedy for injuries caused by

knowingly deceptive and misleading business practices . . . .”). In Elkind v. Revlon Consumer

Prods. Corp., the court similarly encountered allegations of deceptive advertising on the label of

products regulated under the FDCA. No. 14-cv-2484, 2015 WL 2344134 (E.D.N.Y. May 14,

2015). The court concluded that these claims were not preempted because “[t]he FDCA does not

endeavor to regulate – and therefore does not purport to pre-empt – whether certain phrases on

the branding of non-prescription drugs are misleading.” Id. at *7. Here, the NYAG’s claims are

grounded in traditional state-law requirements regarding deceptive business practices, fraud and

illegality – requirements that exist separate and apart from the FDCA and DSHEA – and thus are

not preempted.

       The cases cited by Defendants in support of their belated preemption argument actually

refute the concept of preemption in the present context or are otherwise distinguishable. For



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example, the court in Pepsico (cited in Defs.’ Br. at 44) made clear that state law claims could

survive a preemption argument “where they are premised on misrepresentations concerning

subject matter that the FDA has not endeavored to regulate,” e.g., “labeling misrepresentations

concerning purified water’s ability to clear up the drinker’s acne or increase the drinker’s

intelligence.” In re Pepsico, Inc., 588 F. Supp. 2d 527, 538 n.10 (S.D.N.Y. Dec. 8, 2008). In

another example cited by Defendants (Defs.’ Br. at 44), the court found preemption in a

challenge to claims that a mouthwash “Restores Enamel” because the FDA had issued a

monograph directly relating to that claim. Bowling v. Johnson & Johnson, 65 F. Supp. 3d 371,

2014 WL 5643955, at *3 (S.D.N.Y. Nov. 4, 2014). (See also Defs.’ Br. at 44-45 (citing

Izquierdo, 2016 WL 645982, at *4 (finding that plaintiffs’ state law claims under GBL § 349

were not preempted by the FDCA); Bimont v. Unilever U.S., Inc., No. 14-cv-7749, 2015 WL

5256988, at *7-*8 (S.D.N.Y. Sept. 9, 2015) (noting that Congress specifically invited the FDA to

address “slack-fill” representations on labels); Greenberg v. Target Corp., 402 F. Supp. 3d 836,

841 (N.D. Cal. 2019) (noting that false and misleading claims about the effect of a dietary

supplement ingredient would not be preempted by the FDCA) (citation omitted); Mills v. Giant

of Md., LLC, 441 F. Supp. 2d 104, 106-07 (D.D.C. 2006) (plaintiff seeking to impose an

affirmative warning requirement on milk labels where milk labels are subject to “standard of

identity” regulations).)

       Defendants’ argument that the “safe harbor” provisions in New York General Business

Law §§ 349 and 350 protect it from suit fails for the same reasons. Those provisions, which

provide for a “complete defense” if the practices are permitted by federal law, do not apply

where, as here, the practices are prohibited by federal law – i.e., the FTC Act. N.Y. Gen. Bus.

Law §§ 349(d), 350-d. As discussed above, there are numerous disputes of fact with respect to



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the FTC’s claims that, if resolved in Plaintiffs’ favor, will result in a determination that

Defendants’ actions at issue here are in violation of federal law. The General Business Law safe

harbor provisions would not, therefore, apply.

           The “safe harbor” cases cited by Defendants do not suggest otherwise. As noted above,

in Izquierdo, the court concluded that the plaintiffs’ state law claims under New York General

Business Law § 349 were not preempted by the FDCA and went on to reject the plaintiffs’

Section 349 claims because the plaintiff failed to allege injury. 2016 WL 645982, at *4, *7.16 In

Manchanda v. Educ. Credit Mgmt. Corp., No. 19-cv-5121, 2022 WL 137885, at *2-*4 (S.D.N.Y.

Jan. 14, 2022), the court found debt collection costs to be covered by the New York General

Business Law § 349(d) safe harbor if within federal regulatory limits, but separately addressed

deceptive acts and practices claims under Section 349 on their merits. And in Colella v. Atkins

Nutritionals, Inc., the court permitted claims to go forward, and did not consider them

preempted, where the claims were outside the scope of the federal regulation and the complaint

“plausibly alleged that scientific evidence contradicted the defendants’ claims.” 348 F. Supp. 3d

120, 138 (E.D.N.Y. Dec. 7, 2018). It was only the claims regarding “Net Carbs” – a term that

was specifically the subject of FDA guidance and warning letters under the FDCA – that were

considered preempted and also subject to the New York General Business Law safe harbor

provisions. Id. at 134-36 & n.6.

     IX.      THE NYAG’S CLAIMS FOR RESTITUTION ARE NOT PRECLUDED

           Finally, the NYAG’s claims for restitution are not barred by the class action settlement in

Collins v. Quincy Bioscience, LLC. The settlement class in that matter does not include


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        Unlike the NYAG, only private plaintiffs are required to show injury under Section 349.
See Goshen, 98 N.Y.2d at 324 (citing N.Y. Gen. Bus. Law § 349(h), the section creating a
private right of action).

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consumers who were harmed by Defendants’ deceptive acts and practices from July 22, 2020 to

today, and thus the NYAG is not precluded from obtaining relief for them. (See Graham Decl.

Ex. JJ, Collins Final Order & Judgment (Nov. 18, 2020) at 4 (defining settlement class as limited

to individuals who purchased Prevagen products from January 1, 2007 through the date of

Preliminary Approval); Graham Decl. Ex. II, Collins Order Granting Pls’ Am. Unopposed Mot.

for Preliminary Approval of Class Action Settlement & Certification of the Settlement Class

(July 21, 2020).) In People v. Applied Card Sys., Inc., the New York Court of Appeals made

clear that a class action settlement does not preclude the NYAG from seeking restitution for

those not bound by the settlement. 11 N.Y.3d 105, 125 (2008). Defendants’ arguments relate to

individuals covered by the settlement class and are therefore irrelevant to the relief the NYAG

seeks.

   X.       CONCLUSION


         For the foregoing reasons, Plaintiffs respectfully request that Defendants’ motion for

summary judgment be denied.




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Respectfully submitted,

Dated: June 16, 2022

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